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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 MARK C. SAVIGNAC and
 JULIA SHEKETOFF,

      Plaintiffs,                                          Case No. 1:19-cv-02443-RDM

             v.

 JONES DAY, STEPHEN J. BROGAN,
 BETH HEIFETZ, and JOHN DOES 1-10,

      Defendants.



 JOINT STATUS REPORT REGARDING DISPUTES OVER CLAIMS OF PRIVILEGE

          Pursuant to the Court’s Order of September 29, 2021, the Parties submit this joint status

report.    The parties propose that Plaintiffs file the motion to compel discussed during the

conference with the Court today by October 13, 2021, that Defendants file their opposition by

October 27, 2021, and that Plaintiffs file their reply by November 8, 2021. The parties further

propose that Defendants may file a motion to compel related to Plaintiffs’ privilege and work

product assertions by October 22, 2021, that Plaintiffs may file their opposition to any such motion

by November 5, 2021, and that Defendants may file their reply in support of any such motion by

November 15, 2021.
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Respectfully submitted,                                             September 29, 2021



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